     Case 1:18-cv-01265-JTN-ESC ECF No. 1 filed 11/12/18 PageID.1 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

TIMOTHY PIO,
an individual,

               Plaintiff,                                   FILE NO.: 1:18-cv-
v

BENTELER AUTOMOTIVE CORPORATION,
a corporation,

               Defendant.




 WILLIAM F. PIPER, PLC
 William F. Piper (P38636)
 Attorney for Plaintiff
 1611 W. Centre Avenue, Suite 209
 Portage, MI 49024
 (269) 321-5008
 wpiper@wpiperlaw.com


                                         COMPLAINT

        The plaintiff Timothy Pio, by and through his attorney William F. Piper, PLC, for his

complaint, states as follows:

                                JURISDICTIONAL ALLEGATIONS

1.      The plaintiff Timothy Pio is a white man who resided in the County of Kalamazoo,

        State of Michigan, at all times relevant to this complaint.

2.      The defendant Benteler Automotive Corporation is a corporation that did business

        in the County of Kalamazoo at all times relevant to this complaint.

3.      This lawsuit arises out of Mr. Pio’s employment by the defendant and its termination

        of that employment by it on May 4, 2018.

                                                1
      Case 1:18-cv-01265-JTN-ESC ECF No. 1 filed 11/12/18 PageID.2 Page 2 of 4



4.       Jurisdiction arises under 28 USC § 1331 and 28 U.S.C. §1337, as Mr. Pio’s lawsuit

         arises in part under the Age Discrimination in Employment Act, 29 USC § 621 et.

         seq., and 42 USC § 1981.

5.       Claims in this lawsuit arise under this court’s supplemental jurisdiction to hear and

         decide state law claims arising out of the same transactions and occurrences as the

         federal law claims.

                                    COMMON ALLEGATIONS

6.       The plaintiff restates and realleges as though fully set forth herein paragraphs 1-5 of

         this Complaint.

7.       The defendant hired Timothy Pio, who was born in 1956 in the United States, in

         2000.

8.       Mr. Pio worked continuously for the defendant from the date of his hire to May

         2018.

9.       At all times that he worked for the defendant, Mr. Pio did a good job for it, and his

         last performance review was very good.

10.      On May 4, 2018 the defendant terminated Mr. Pio’s employment, calling it a lay off.

11.      The defendant, to replace Mr. Pio and numerous other older individuals that it had

         terminated at the same time as Mr. Pio, hired numerous workers from a temporary

         agency.

12.      The defendant also retained numerous newly hired Burmese employees, who were

         all substantially younger, upon information and belief.




                                                2
      Case 1:18-cv-01265-JTN-ESC ECF No. 1 filed 11/12/18 PageID.3 Page 3 of 4



13.      The defendant also retained numerous substantially younger employees who had

         substantially less seniority than did Mr. Pio and most of the other older individuals

         selected for termination, upon information and belief.

14.      The defendant terminated Mr. Pio despite telling him several weeks before

         terminating his employment that his job was safe.

15.      The reason given for terminating Mr. Pio rather than the substantially younger

         people and the Burmese people was a pretext for age, race and national origin

         discrimination.

16.      As a result of the termination set forth above, Mr. Pio has suffered and will continue

         to suffer a loss of income and benefits, emotional distress, a loss of enjoyment of life,

         and other consequential damages.

                               COUNT I- AGE DISCRIMINATION

17.      The plaintiff restates and realleges as though fully set forth herein paragraphs 1-16

         of this Complaint.

18.      But for his age, the defendant would not have terminated Mr. Pio’s employment.

19.      As a result of the unlawful termination set forth above, the plaintiff suffered and will

         continue to suffer the damages set forth above.

20.      This claim is actionable under the Age Discrimination in Employment Act, 29 USC §

         621 et. seq., and the Elliott-Larsen Civil Rights Act, MCL 37.2101 et. seq.

         WHEREFORE, the plaintiff Timothy Pio requests a Judgment against the defendant

that world include appropriate equitable relief, including reinstatement or front pay;

appropriate legal relief, including compensation for his loss of income and benefits and

compensation for all non-economic damages that he suffered in the past and that he will


                                                 3
      Case 1:18-cv-01265-JTN-ESC ECF No. 1 filed 11/12/18 PageID.4 Page 4 of 4



continue to suffer in the future; all liquidated damages recoverable under 29 USC § 626(b);

and all recoverable interest, costs, attorney’s fees and any other relief this Court deems fair

and just.

                COUNT II – RACE AND NATIONAL ORIGIN DISCRIMINATION

21.      The plaintiff restates and realleges as though fully set forth herein paragraphs 1-20

         of this Complaint.

22.      The defendant terminated Mr. Pio in part because of his race and national origin.

23.      As a result of the unlawful termination set forth above, the plaintiff suffered the

         damages set forth above.

24.      This claim is actionable under 42 USC §1981 and the Elliott-Larsen Civil Rights Act,

         MCL 37.2101 et. seq.

         WHEREFORE, the plaintiff requests a Judgment against the defendant that would

include back pay; reinstatement in an appropriate position and other equitable relief,

including front pay; punitive damages, compensation for all non-economic damages and

other damages, costs, interest, attorney’s fees under 42 USC §1988 and the Elliott-Larsen

Civil Rights Act, and any other relief this Court deems fair and just.

Dated: November 5, 2018                     WILLIAM F. PIPER, PLC.
                                            Attorney for Plaintiff


                                            By:  /s/ William F. Piper
                                                 William F. Piper (P38636)
                                            BUSINESS ADDRESS:
                                                 1611 W. Centre Avenue, Suite 209
                                                 Portage, MI 49024
                                                 (269) 321-5008


                                               4
